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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH DAKOTA
                                  SOUTHERN DIVISION

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                          *
UNITED STATES OF AMERICA, *          CR. 09-40105-09
                          *
          Plaintiff,      *
                          *
     vs.                  *  REPORT AND RECOMMENDATION
                          *    ON DEFENDANT’S CHANGE
JAMES NAAB,               *          OF PLEA
                          *
          Defendant.      *
                          *
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       This matter came before the court for a change of plea hearing on Thursday, June 10, 2010.

The Defendant, James Naab, appeared in person and by his counsel, Langu Okall, while the United

States appeared by its Assistant United States Attorney, John Haak.

       The defendant consented in open court to the change of plea before a United States

magistrate judge. This court finds that the defendant’s consent was voluntary and upon the advice

of counsel. The government also consented to the plea hearing before a magistrate judge.

       Defendant has reached a plea agreement wherein he intends to plead guilty to the Second

Superseding Indictment which charges him with Conspiracy to Distribute and Possess with Intent

to Distribute a Controlled Substance in violation of 21 U.S.C. §§ 841(a)(1) and 846. At the hearing,

the defendant was advised of the nature of the charges to which the defendant would plead guilty

and the maximum penalties applicable, specifically: mandatory minimum 10 years imprisonment;

maximum life imprisonment; a $4 million fine; or both; 5 years supervised release; 5 additional

years imprisonment if supervised release is revoked; and a $100 special assessment.
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       Upon questioning the defendant personally in open court, it is the finding of the court that

the defendant is fully competent and capable of entering an informed plea, that the defendant is

aware of the nature of the charges and the consequences of the plea, and that his plea of guilty to the

Second Superseding Indictment is a knowing and voluntary plea supported by an independent basis

in fact containing each of the essential elements of the offense. The defendant’s guilty plea to the

Second Superseding Indictment is accepted. It is my report and recommendation that the defendant

be adjudged guilty of that offense.

                                      NOTICE TO PARTIES

       The parties have fourteen (14) days after service of this Report and Recommendation to file

written objections pursuant to 28 U.S.C. § 636(b)(1), unless an extension of time for good cause is

obtained. Failure to file timely objections will result in the waiver of the right to appeal questions

of fact. Objections must be timely and specific in order to require de novo review by the District

Court. Thompson v. Nix, 897 F.2d 356 (8th Cir. 1990); Nash v. Black, 781 F.2d 665 (8th Cir. 1986).

       Dated this 11th day of June, 2010.

                                               BY THE COURT:

                                               s/John E. Simko

                                               __________________________________________
                                               John E. Simko
                                               United States Magistrate Judge




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